
USCA1 Opinion

	




        July 13, 1992            ____________________        No. 91-2224                                  STEPHEN P. LAUER,                                 Plaintiff, Appellee,                                          v.                              UNITED STATES OF AMERICA,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jaime Pieras, Jr., U.S. District Judge]                                             ___________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                      Aldrich and Coffin, Senior Circuit Judges.                                          _____________________                                 ____________________            Lowell  V.   Sturgill,  Jr.,  Appellate   Staff,  Civil  Division,            ___________________________        Department of Justice,  with whom Stuart M. Gerson, Assistant Attorney                                          ________________        General, Daniel F.  Lopez-Romo, United States Attorney,  and Robert S.                 _____________________                               _________        Greenspan,  Appellate Staff,  Civil Division,  Department of  Justice,        _________        were on brief for appellant.            Mark B.  Frost  with  whom Herbert  W.  Brown  was  on  brief  for            ______________             __________________        appellee.                                 ____________________                                 ____________________                      ALDRICH,   Senior   Circuit  Judge.      On  Friday                                 _______________________            afternoon,  October 31,  1986,  Federal Tort  Claims Act,  28            U.S.C.   2674,  plaintiff Stephen P. Lauer,  a Naval enlistee            stationed  at the  Roosevelt  Roads Naval  Station in  Puerto            Rico, became at liberty until Monday morning.  He remained at            the base, but in  the evening, after some beers, he  joined a            number of others to take a bus, where he drank more, to No. 1            Gate, and then set  out to walk to Don's Lighthouse, a public            bar frequented by servicemen.   This meant a long  walk along            Tarawa  Road,   an  asphalt  road   owned,  maintained,   and            patrolled, by  the Navy because it  was a main access  to the            base.   There was no  sidewalk, but a  grassy shoulder.   The            shoulder  was uneven and sloping, so that it was customary to            walk on the road.   Plaintiff was with a group, some  of whom            walked ahead of him, but all were on the right side, with the            flow  of traffic.  Rejecting  the testimony of  the driver of            the  car  that ultimately  struck  plaintiff,  who said  that            plaintiff was in the middle of the road, and of a  serviceman            who said that  he had  three times called  to plaintiff,  who            "had some difficulty walking," to leave the middle, the court            found  that  plaintiff  was  on the  far  right.1    Wherever                                            ____________________            1.  While the issue is not before us, the court also rejected            the Navy's JAGMAN investigation findings of gross  negligence            because of intoxication and "walking with the flow of traffic            which   is  incorrect  for  pedestrian  traffic,"  and  found            plaintiff not  guilty of contributory negligence.   It stated            that  this was  plaintiff's first  time on  the road,  and he            could not walk further  over due to the  fact that a  British            sailor was on his right.                                         -3-            plaintiff  was, the road was unlighted, and the driver of the            automobile coming from behind  at a proper rate of  speed did            not  see  him  soon  enough   to  avoid  a  serious  contact.            Plaintiff blames this on the Navy's negligence in failing  to            light the road.                      The court  found negligence, and the  sole question            on the government's appeal  is whether plaintiff's claim must            fail in light of Feres v. United States, 340 U.S. 135 (1950).                             _____    _____________            After  a  discussion  of  the policy  reasons  applicable  to            military  personnel the  Feres  court "conclude[d]  that  the                                     _____            government  is not liable  under the Federal  Tort Claims Act            for injuries to servicemen where the injuries arise out of or            are in the course of activity incident to service."  340 U.S.            at  146.     The  district  court,  noting  that  the  JAGMAN            decision, n.1, ante,  had denied plaintiff Veterans  benefits            because his  injuries  were  not incurred  "in  the  line  of            duty,"2  equated   this  phrase  with   Feres'  "incident  to                                                    _____            service;"  viz., plaintiff  was not  service-barred.   773 F.            Supp. 527, 533 (D.P.R. 1991).                      Finding  this  equivalency  was  error,  the latter            phrase is  manifestly more  inclusive.3   Also error  was the                                            ____________________            2.  "5.   Due to his gross  negligence and intoxication, BUCA            Lauer's  injuries were incurred not  in the line  of duty and            due to his own misconduct."            3.        incident:  occurring or likely  to occur,                      esp.   as   a   minor    consequence   or                      accompaniment;  associated  or  naturally                      related.                                                           (continued...)                                         -4-            court's statement that we had held in Morey v. United States,                                                  _____    _____________            903 F.2d 880 (1st Cir.  1990), "that the act of  walking away            from  one's  station  of   duty  while  on  liberty,  renders            accidents which occur,  'not incident to  military service.'"            773  F. Supp.  at 533.   We did  not.   Rather, we  held that            "returning  to his ship was an  activity incident to military            service,  despite  the  fact   that  he  was  returning  from            nonmilitary  activity,"   903  F.2d  at  882,   and  made  no            suggestion that  departing  for would  differ from  returning            from.                      Following   Feres,   courts   have   observed   the                                  _____            importance  of  having  military discipline  unreviewable  by            courts.    Mills v.  Tucker, 499  F.2d  866 (9th  Cir. 1974).                       _____     ______            Conduct of the military,  however, goes far beyond discipline            in the  narrow sense.  In United  States v. Shearer, 473 U.S.                                      ______________    _______            52,  57 (1985),  the Court  spoke against  "second guess[ing]            military  decisions   and  whether  the   suit  might  impair            ___________________            essential military discipline."   (Emphasis supplied).   This            is  not a mere automobile accident case, see, e.g., Pierce v.                                                     ___  ____  ______                                            ____________________            3.  (...continued)            Webster's Third Internat. Dict.            Compare,                      incidental:      likely   to  happen   or                      naturally appertaining (usually  followed                      by to).                         __            Random House Dict.                                         -5-            United States, 813 F.2d 349 (11th Cir. 1987); the question of            _____________            whether to  light a highway is a military decision.  Morey is                                                                 _____            directly in  point.  There  we held  barred a claim  that the            Navy failed  to provide sufficient patrols around  a pier and            hence  failed  to rescue  plaintiff  when  he fell  off  when            returning to his ship.  We said, 903 F.2d at 882,                      Morey's other contention,  that the  Navy                      was negligent  or reckless in  failing to                      provide  sufficient  security around  the                      pier,  likewise  implicates questions  of                      military  decision  making,  such as  the                      proper allocation of security  forces and                      the proper supervision of such forces.                      To continue  with  incident  to  service,  and  the            alleged  difference   between  leaving  for   recreation  and            returning therefrom, liberty recreation is part of the normal            everyday life of  a serviceman.  This does not  mean that all            recreation  is incident  to service,  cf. Rodrigue  v. United                                                  __  ________     ______            States, decided this  day (swimming, 25 miles from base), but            ______            traveling  for that purpose on a road appurtenant to the base            was  exactly what the Navy anticipated and had decided how to            provide for.   We  compare Mills  v. Tucker,  ante.  There  a                                       _____     ______   ____            serviceman returning  to his base while  on furlough suffered            an  automobile accident  allegedly  due to  a defective  road            maintained by  the Navy.  The  road was used as  a public way            and  served not  his  base, but  other  Naval property.    In            holding  that his travel thereon was  not incident to service            the  court  reasoned that  he  was not  "subject  to ultimate                                         -6-            military control."  Using  this test the Ninth  Circuit would            decide here on the basis of whether the serviceman was inside            or outside the gate.  Coffey  v. United States, 455 F.2d 1380                                  ______     _____________            (9th  Cir. 1972) (per curiam affirming on opinion below).  We            do  not  believe  such control  to  be  the  Feres test,  see                                                         _____        ___            Shearer, ante, as we demonstrated in Morey, although actually            _______  ____                        _____            we would have  reached the Mills result.   The Mills road was                                       _____               _____            independent  of the serviceman's base, and he was using it as            a member of the general public.  Cf. Brooks v. United States,                                             __  ______    _____________            337  U.S. 49  (1949).   Here  the  court was  reviewing  what            plaintiff  had been directly  supplied as a  serviceman.  Its            adequacy was not for the court to measure.                      Reversed.                      ________                                         -7-

